 Case 1:18-cv-00565-GMS Document 27 Filed 07/09/18 Page 1 of 2 PageID #: 858



                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

SYMBOLOGY INNOVATIONS LLC,

                       Plaintiff,

       v.
                                                      C.A. No. 18-565 (GMS)
BRUNSWICK CORPORATION
d/b/a LIFE FITNESS,

                       Defendant.

              STIPULATION AND PROPOSED ORDER TO EXTEND TIME

       IT IS HEREBY STIPULATED AND AGREED by the undersigned counsel for Plaintiff

Symbology Innovations LLC (“Plaintiff”) and Defendant Brunswick Corporation d/b/a Life

Fitness (“Defendant”), subject to the approval of the Court, that the time for Defendant to file its

Reply Brief in Support of its Motion to Dismiss (“Motion”) is extended from July 2, 2018 to and

including July 9, 2018.

       The reason for the requested extensions is to allow counsel for Defendant additional time

to research the arguments and assertions set forth in Plaintiff’s Answering Brief, and consult

with their client. No party will be prejudiced by these brief extensions.

STAMOULIS & WEINBLATT LLC                         FISH & RICHARDSON P.C.

/s/ Stamatios Stamoulis                           /s/ Jeremy D. Anderson
Stamatios Stamoulis (No. 4606)                    Jeremy D. Anderson (No. 4515)
Two Fox Point Centre                              222 Delaware Avenue, 17th Floor
6 Denny Road, Suite 307                           Wilmington, DE 19801
Wilmington, DE 19809                              (302) 658-5070
(302) 999-1540                                    janderson@fr.com
stamoulis@swdelaw.com
                                                  ATTORNEYS FOR DEFENDANT
ATTORNEYS FOR PLAINTIFF                           BRUNSWICK CORPORATION D/B/A LIFE FITNESS
SYMBOLOGY INNOVATIONS LLC

Dated: June 29, 2018
Case 1:18-cv-00565-GMS Document 27 Filed 07/09/18 Page 2 of 2 PageID #: 859



     SO ORDERED, this ___ day of ________, 2018.


                                            ___________________________________
                                            HON. GREGORY M. SLEET




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